Case 3:15-cv-00835-TJC-JRK Document 30 Filed 07/15/16 Page 1 of 1 PageID 222



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


WILLIAM SINGLETON,

      Plaintiff,

v.                                                      Case No. 3:15-cv-835-J-32JRK

AMERICAN EAGLE OUTFITTERS,
INC.,

      Defendant.


                                      ORDER

      Upon review of the Joint Stipulation of Dismissal With Prejudice (Doc. 29),

filed on July 14, 2016, this case is dismissed with prejudice. Each party shall bear its

own attorneys’ fees and costs. The Clerk should close the file.

      DONE AND ORDERED in Jacksonville, Florida this 15th day of July, 2016.




sj
Copies:

Counsel of record
